














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS


								




NO. PD-1153-11





LOUIS CONTRERAS III, Appellant



v.



THE STATE OF TEXAS






ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW

FROM THE FIRST COURT OF APPEALS

HARRIS COUNTY




    Per curiam.  Keasler and Hervey, JJ., dissent.  Alcala, J., not participating.


ORDER


	The petition for discretionary review violates Rule of Appellate Procedure 68.4(i),
68.5, because it does not contain a complete copy of the opinion of the court of appeals,
and the petition exceeds 15 pages.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be
filed in the Court of Criminal Appeals within thirty days after the date of this order.

Filed: February 8, 2012

Do Not Publish


